                Case 24-04358                Doc 14       Filed 04/02/24 Entered 04/02/24 21:35:11                         Desc Main
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 Fill in this information to identify the case:

  Debtor 1:                 Aaliyah              I                  Cowan
                           First Name         Middle Name          Last Name

  Debtor 2:
  (Spouse, if filing)      First Name         Middle Name          Last Name

  United States Bankruptcy Court for the:             Northern             District of      Illinois

  Case Number:             24-04358
  (if known)

  Chapter filing under:                                                              ✔ Chapter 7
                                                                                     ❑
                                                                                     ❑ Chapter 11
                                                                                     ❑ Chapter 12
                                                                                     ❑ Chapter 13


Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the court orders that:


     The debtor(s) may pay the filing fee in installments on the terms proposed in the application.

     The debtor(s) must pay the filing fee according to the following terms:




                               You must pay...       On or before this date...
                                                      04/26/2024
                               $ 84.50
                                                     Month / day / year

                               $ 84.50                05/24/2024
                                                     Month / day / year

                               $   84.50             06/26/2024
                                                     Month / day / year
                                   84.50             07/24/2024
                           + $
                                                     Month / day / year
                                   338.00
       Total                   $




      Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional property to an attorney or to
      anyone else for services in connection with this case.




                                                      By the court:
                        Month / day / year                                United States Bankruptcy Judge
